             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 1 of 41



 1   Nicholas A. Brown (CA Bar No. 198210)
     Greenberg Traurig, LLP
 2   101 Second St. Ste. 2200
     San Francisco, CA 94105
 3
     Phone: (415) 655-1300
 4   Fax: (415) 707-2010

 5   Stephen M. Ullmer (CA Bar No. 277537)
     Greenberg Traurig, LLP
 6   1144 15th St. Ste. 3300
     Denver, CO 80202
 7
     Phone: 303-685-6579
 8   Fax: 303-572-6540

 9   Attorneys for Plaintiff Tigo Energy Inc.
10

11                                 UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13

14

15   TIGO ENERGY INC.,                          Case Number: 3:23-cv-00762-WHO
16                  Plaintiff,                  SECOND AMENDED COMPLAINT FOR
                                                PATENT INFRINGEMENT
17          vs.
18   SUNSPEC ALLIANCE,                          DEMAND FOR JURY TRIAL
19                  Defendant.
20

21

22

23

24

25

26

27

28
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 2 of 41



 1                                                  COMPLAINT

 2           Plaintiff Tigo Energy, Inc. (“Tigo”) brings this Second Amended Complaint for patent

 3   infringement against Defendant SunSpec Alliance (“SunSpec”) and alleges as follows:

 4                                                 THE PARTIES

 5           1.      Tigo is a Delaware corporation, having its principal place of business at 655 Campbell

 6   Technology Pkwy., Campbell, CA 95008.

 7           2.      On information and belief and according to the records of the California Secretary of State

 8   website, SunSpec is a nonprofit corporation organized and existing under the laws of California with a

 9   principal place of business at 4040 Moorpark Avenue, Suite 110, San Jose, CA 95117.
10                                        JURISDICTION AND VENUE
11           3.      This action arises under the patent laws of the United States, Title 35 of the United States

12   Code. Accordingly, this Court has exclusive subject matter jurisdiction over this action under 28 U.S.C.

13   §§ 1331 and 1338(a).

14           4.      This Court has personal jurisdiction over SunSpec because, on information and belief,

15   SunSpec maintains its principal place of business in this District and from that location conducts and

16   directs the acts accused of infringement in this action.

17           5.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400(b) because, on

18   information and belief, SunSpec regularly conducts business within this District, has a regular and

19   established place of business in this District, and has committed acts of infringement within this District.

20                                                 BACKGROUND

21           A.      Solar Systems and Rapid-Shutdown

22           6.      A typical roof-top solar system includes: (i) an array of photovoltaic modules (colloquially

23   referred to as solar panels) that generate direct current (DC) from sunlight; (ii) an inverter that converts

24   DC to alternating current (AC), which is the form of electricity used by the electrical grid and most

25   homes; and (iii) wires and other components to connect the array of solar panels to the inverter. (See

26   Exhibit 16 (www.energy.gov/eere/solar/how-does-solar-work); Exhibit 17 (www.energy.gov/eere/solar/

27   solar-integration-inverters-and-grid-services-basics).)

28           7.      In the roof-top solar industry, “rapid shutdown” is safety feature that enables a solar


     SECOND AMENDED COMPLAINT                              2                               CASE NO. 3:23-cv-00762-WHO
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 3 of 41



 1   system to be shut down quickly at need, for example if firefighters need to access to the area where the

 2   solar system is installed, or if the power grid is off and it would be dangerous to supply it with power.

 3           B.      Tigo’s Rapid-Shutdown Products

 4           8.      Tigo has been a leader for many years in developing technology for module-level rapid

 5   shutdown of photovoltaic panels.

 6           9.      Tigo’s products include module-level rapid shutdown units that are attached to

 7   photovoltaic panels, such as its TS4-A-F product. The Tigo TS4-A-F works in conjunction with a

 8   transmitter, such as the Tigo RSS (Rapid Shutdown System) Transmitter, in order to provide a

 9   photovoltaic system that complies with the rapid-shutdown requirements of National Electric Code §
10   690.12. Tigo’s TS4-A-F and RSS Transmitter rapid-shutdown products are pictured below:
11

12

13

14

15

16

17

18           10.     Tigo has delivered more than 2 million rapid shutdown products to end users.
19           11.     As a result of its pioneering work in developing technology for module-level rapid
20   shutdown of photovoltaic panels, Tigo has obtained multiple patents related to module-level rapid
21   shutdown.
22           C.      Tigo’s ’321 Patent
23           12.     U.S. Patent No. 8,933,321 (“’321 patent”) is titled “Systems and methods for an enhanced
24   watchdog in solar module installations,” and was duly and legally issued by the United States Patent and
25   Trademark Office on January 13, 2015.
26           13.     Tigo is the owner and assignee of all substantial rights in the ’321 patent, a copy of which
27   is attached as Exhibit 1.
28           14.     The ’321 patent describes a system for “rendering a solar array safe during an emergency”


     SECOND AMENDED COMPLAINT                             3                                CASE NO. 3:23-cv-00762-WHO
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 4 of 41



 1   that involves a “watchdog unit” that “monitors a signal from a central controller” and shuts down solar

 2   modules if the signal “is lost, interrupted, or becomes irregular, or a shutdown signal is received.” (Exhibit

 3   1 at Abstract.)

 4           15.       Tigo’s ’321 patent issued from U.S. Patent Application No. from 12/628,977, which was

 5   filed in 2009 and was first published on June 10, 2010 as US 2010/0139734 A1.

 6           D.        National Electric Code Requirements For Rapid-Shutdown

 7           16.       In 2014, the National Electric Code added a new section, § 690.12 regarding “Rapid

 8   Shutdown of PV Systems on Buildings,” which required that photovoltaic system circuits “installed on or

 9   in buildings shall include a rapid shutdown function.” The 2014 version of the National Electric Code is
10   often referred to as “NEC 2014.”
11           17.       In 2017, National Electric Code § 690.12 was amended. National Electric Code § 690.12
12   now specifies that the requires that photovoltaic system circuits “installed on or in buildings shall include
13   a rapid shutdown function to reduce shock hazard for emergency responders.” (emphasis added). National
14   Electric Code § 690.12(B) further specifies that conductors more than 1 foot away from the photovoltaic

15   array (i.e. the solar panels) “shall be limited to not more than 30 volts within 30 seconds of rapid

16   shutdown initiation.” The 2017 version of the National Electric Code is often referred to as “NEC 2017.”

17                     SUNSPEC AND ITS INFRINGEMENT OF TIGO’S ’321 PATENT

18           A.        SunSpec and SunSpec’s Rapid-Shutdown Standard

19           18.       SunSpec promotes itself as “the information standards and certification organization for

20   the Distributed Energy Resource (DER) industry.” (https://sunspec.org/mission/).

21           19.       The mission of the SunSpec Alliance is to accelerate the growth of the Distributed Energy

22   industry and expand the market for renewable power by specifying de facto standards – information

23   models, data formats, communication protocols, system interfaces, best practices and other artifacts – that

24   enable solar PV and energy storage Distributed Energy power plants to interoperate transparently.

25   (https://sunspec.org/mission/).

26           20.       SunSpec’s members include SMA Solar Technology AG (“SMA”), Zhejiang Jiaming

27   Tianheyuan Photovoltaic Technology Co., Ltd. (“JMTHY”), MidNite Solar, Inc. (“MidNite”), and Zerun

28   Co., Ltd. (“Zerun”). (https://sunspec.org/members/).


     SECOND AMENDED COMPLAINT                             4                               CASE NO. 3:23-cv-00762-WHO
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 5 of 41



 1           21.     SunSpec has published specifications concerning rapid shutdown technology, including

 2   the August 21, 2017 Communication Signal for Rapid Shutdown SunSpec Interoperability Specification,

 3   Approved Version 34 (Exhibit 2, hereinafter the “Interoperability Specification”), and the March 9, 2021

 4   Communication Signal for Rapid Shutdown Test Specification, Version 18 (Exhibit 3, hereinafter the

 5   “Test Specification”).

 6           22.     The Interoperability Specification incorporates the Test Specification. (Exhibit 2 at 23.)

 7   The two documents collectively are referred to hereinafter as “the SunSpec RSD Specifications.”

 8           23.     The SunSpec RSD Specifications are designed so that all solar systems that comply with

 9   their requirements meet the rapid shutdown requirements of National Electric Code § 690.12. (Exhibit 2 at
10   11 (“The SunSpec Communication Signal for Rapid Shutdown Specification is designed to support rapid
11   shutdown requirements of any PV system governed by NEC 2014, NEC 2017, or applicable UL
12   standard(s)”; Exhibit 2 at 24 (explaining that in NEC 2014 and NEC 2017 “section 690.12 includes Rapid
13   Shutdown requirements”); Exhibit 2 at 1 (“This document defines a multi-vendor, multi-device (e.g.
14   inverter, module, string combiner) communication interoperability specification to support NEC 2014,
15   NEC 2017 and UL 1741 module-level rapid shutdown requirements.”); Exhibit 2 at 10.)
16           24.     On information and belief, SunSpec developed and publishes the SunSpec RSD
17   Specifications with the intent that they be used: that members of the public—including solar system
18   installers, solar system customers, and SunSpec members—will install and use solar systems that comply
19   with the SunSpec RSD Specifications.

20           25.     Figure 1 of the Interoperability Specification is titled “Rapid Shutdown System” and is

21   reproduced below with color added. The transmitter (green) is located with the inverter, and receivers

22   (blue) are located with the solar panels (purple). Each receiver shuts down its solar panel unless it receives

23   a permission-to-operate signal from the transmitter.

24

25

26

27

28


     SECOND AMENDED COMPLAINT                               5                             CASE NO. 3:23-cv-00762-WHO
                Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 6 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11   (Exhibit 2 at 11.)
12           26.     As shown in Figure 1, solar systems that comply with the SunSpec RSD Specifications
13   include solar modules (“PV modules”).
14           27.     SunSpec publishes a “Rapid Shutdown Fact Sheet,” attached as Exhibit 18, at the URL
15   https://sunspec.org/wp-content/uploads/2021/12/SunSpec-RapidShutdown-FactSheet-20200507.pdf.
16           28.     On information and belief, SunSpec’s Rapid Shutdown Fact Sheet was published on May
17   7, 2020.
18           29.     SunSpec’s Rapid Shutdown Fact Sheet contains a figure that is substantially identical to
19   Figure 1 of the Interoperability Specification, except that it uses different graphics:
20

21

22

23

24

25

26

27

28


     SECOND AMENDED COMPLAINT                              6                                   CASE NO. 3:23-cv-00762-WHO
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 7 of 41



 1   (Exhibit 18 at 2.)

 2           30.     SunSpec’s Rapid Shutdown Fact Sheet is subtitled “SunSpec Rapid Shutdown

 3   Specification and Certification Program.” It explains that “PV module-level power control and safety

 4   (‘rapid shutdown’) is required in 34 states as of January 2020” due to requirements “established by

 5   National Electrical Code (NEC) 2017” in order to “protect firefighters and consumers who need to

 6   interact with a PV system.” (Exhibit 18 at 1.)

 7           31.     SunSpec’s Rapid Shutdown Fact Sheet states that SunSpec “developed an open standard

 8   rapid shutdown communication solution” in order to benefit “all consumers by increasing the safety of PV

 9   systems and lowering installation costs.” It also states that “Products complying to the standard are now
10   available from world-class vendors” and “Find the full list of SunSpec Rapid Shutdown certified products
11   at certifications.sunspec.org:”
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28   (Exhibit 18 at 1.)


     SECOND AMENDED COMPLAINT                           7                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 8 of 41



 1          32.     On information and belief, SunSpec publishes the Rapid Shutdown Fact Sheet to induce

 2   members of the public—including solar system installers, solar system customers, and SunSpec

 3   members—to purchase and install solar systems that comply with the SunSpec RSD Specifications. Such

 4   systems include solar modules as shown in the figure in the Rapid Shutdown Fact Sheet.

 5          33.     The SunSpec Rapid Shutdown certified products identified at the URL identified in the

 6   Rapid Shutdown Fact Sheet (certifications.sunspec.org) include: Fronius Symo Advanced (includes

 7   SunSpec Rapid Shutdown Transmitter) (certification RS-000001), SMA Sunny Boy US (includes

 8   SunSpec Rapid Shutdown Transmitter) (certification RS-000002), SMA Sunny Tripower CORE1

 9   (includes SunSpec Rapid Shutdown Transmitter) (certification RS-000003), SMA TS4-R-F-42
10   (certification RS-000004), Zerun PV Rapid Shutdown Equipment (certification RS-000007), Ginlong
11   Technologies Co., Ltd. Solis Module Level Rapid Shutdown System Transmitter Equipment (certification
12   RS-000008), Zhejiang Jiaming Tianheyuan Photovoltaic Technology Co Ltd (JMTHY) Rapid Shutdown
13   Box (certification RS-000009), Fronius Primo GEN24 (includes SunSpec Rapid Shutdown Transmitter)
14   (certification RS-000010), Canadian Solar Inc. PV RSD System Eq. (includes SunSpec Rapid Shutdown
15   Transmitter) (certification RS-000011), Northern Electric Power Technology, Inc. photovoltaic rapid
16   shutdown system equipment (includes SunSpec Rapid Shutdown Transmitter) (certification RS-000013),
17   Enteligent Inc. PV Rapid Shutdown Equipment (certification RS-000014), Zhejiang Benyi Electrical Co.,
18   Ltd. Photovoltaic Rapid Shutdown Equipment (certification RS-000015), Hoymiles Power Electronics
19   Inc. HRSD (certification RS-000016), Hoymiles Power Electronics Inc. Transmitter and Transmitter Plus

20   (certification RS-000017), SMA Sunny Tripower X (includes SunSpec Rapid Shutdown Transmitter)

21   (certification RS-000018).

22          34.     SunSpec owns and controls the website sunspec.org.

23          35.     On information and belief, SunSpec publishes pages on its website to promote the

24   SunSpec RSD Specifications and to induce the public to install and use solar systems that comply with the

25   SunSpec RSD Specifications. For example:

26

27

28


     SECOND AMENDED COMPLAINT                           8                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 9 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19   (https://sunspec.org/sunspec-rapid-shutdown-initiative/). On this page, SunSpec tells the public that the

20   “safest, most effective way to ensure NEC 2017 Rapid Shutdown compliance” is to use the open standard

21   that SunSpec publishes: “SunSpec Rapid Shutdown.”

22          36.     The SunSpec website promotes the benefits to installers and end-users of solar systems

23   that comply with the SunSpec RSD Specifications:

24

25

26

27

28


     SECOND AMENDED COMPLAINT                           9                             CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 10 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14   (https://sunspec.org/sunspec-rapid-shutdown-initiative/). For example, SunSpec tells the public on this
15   page that its standard provides the “lowest cost solution to a fundamental market requirement” and
16   “increases consumer safety.” Similarly, SunSpec tells the public that its standard “reduces installation and
17   interconnection costs.”
18          37.     The same SunSpec website page includes a section entitled “Resources For Installers” that
19   includes a picture of solar panels being installed and provides links to (i) the SunSpec Rapid Shutdown
20   Fact Sheet (Exhibit 18) and (ii) SunSpec’s “Certified Product Registry:”
21

22

23

24

25

26

27

28


     SECOND AMENDED COMPLAINT                           10                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 11 of 41



 1   (https://sunspec.org/sunspec-rapid-shutdown-initiative/).

 2           B.       All Solar Systems That Use SunSpec’s Rapid Shutdown Standard Infringe Tigo’s
 3                    ’321 Patent

 4           38.      Tigo’s work in the area of module-level rapid shutdown of photovoltaic panels far pre-

 5   dates both the rapid-shutdown requirements of National Electric Code § 690.12 and SunSpec’s work on

 6   rapid-shutdown.

 7           39.      Tigo’s ’321 patent issued from U.S. Patent Application No. from 12/628,977, which was

 8   filed in 2009 and was first published on June 10, 2010 as US 2010/0139734 A1. National Electric Code §

 9   690.12 was introduced in 2014. SunSpec’s Interoperability Standard identifies September 2, 2015 as the

10   date of its “First Draft.”

11           40.      On information and belief, SunSpec copied Tigo’s product line and Tigo’s patented

12   technology in developing the SunSpec RSD Specifications.

13           41.      All solar systems that comply with the SunSpec RSD Specifications infringe claims 1, 12,

14   and 13 of Tigo’s ’321 patent.

15           42.      Claim 1 of the ’321 patent recites:

16           A system comprising:

17           a watchdog unit coupled between a solar module and a power bus, the power bus configured to
                connect a plurality of solar modules to an inverter, the watchdog unit having:
18
             a local controller configured to monitor a communication from a central controller remote from
19               the solar module and determine whether the communication has been interrupted for a time
                 period longer than a predetermined number of allowed skips; and
20
             at least one switch configured to disconnect the solar module from the power bus in response to a
21                determination by the location controller that the communication from the central controller has
                  been interrupted for a time period longer than the predetermined number of allowed skips;
22
             wherein the watchdog unit is configured to connect the solar module to the power bus when the
23              communication is not interrupted.
24
             43.      Claims 12 and 13 of the ’321 patent recite:
25
             12. A system comprising:
26
             a watchdog device coupled between a solar module and a power bus, the power bus configured to
27              connect a plurality of solar modules to an inverter, the watchdog device configured to:

28           verify communication with a central controller remote from the solar module; and


     SECOND AMENDED COMPLAINT                               11                           CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 12 of 41



 1           shutdown the solar module from the power bus if communication with the central controller
                 cannot be verified for a time period longer than a predetermined number of allowed skips.
 2
             13. The system of claim 12, wherein to shutdown the solar module entails disconnecting the solar
 3               module from the power bus.
 4           44.     All solar systems that comply with the SunSpec RSD Specifications are systems in which
 5   a watchdog unit (a “receiver” in Figure 1 of the Interoperability Specification, below) is coupled between
 6   a solar module (one of the “6-30 PV modules . . . in series” in the figure below) and a power bus (the “DC
 7   line” in the figure below). The power bus is configured to connect a plurality of solar modules (two or
 8   more of the “6-30 PV modules . . . in series” in the figure below) to an inverter and a transmitter, which
 9   may be separate from or integrated in an inverter. As described below, each receiver (blue) shuts down its
10   solar panel (purple) unless it receives a permission-to-operate signal from the transmitter (green).
11

12

13

14

15

16

17

18

19

20

21   (Exhibit 2 at 11.)
22           45.     The SunSpec RSD Specifications are designed so that all solar systems that comply with
23   their requirements meet the rapid shutdown requirements of National Electric Code § 690.12. The
24   SunSpec Interoperability Specification defines a “Rapid Shutdown System” as “a collection of
25   Components and Communication Protocols that are used to fulfill rapid shutdown requirements as defined
26   by NEC 2014 or NEC 2017.” (Exhibit 2 at 11.) As stated above, National Electric Code § 690.12 was
27   introduced in NEC 2014 and amended in NEC 2017. (See Exhibit 2 at 24.) National Electric Code §
28   690.12 is entitled “Rapid Shutdown of PV Systems on Buildings” and requires that electrical conductors


     SECOND AMENDED COMPLAINT                             12                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 13 of 41



 1   that are more than 1 foot away from a photovoltaic array (i.e. a set of solar panels) be limited to “not more

 2   than 30 volts within 30 seconds of rapid shutdown initiation.””

 3           46.     The SunSpec RSD Specifications define requirements for the “transmitter” and

 4   “receivers” in the solar system shown in Figure 1 above.

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23   (Exhibit 2 at 11-12.)
24           47.     The SunSpec RSD Specifications further require that “Rapid Shutdown Systems” (shown
25   in Figure 1 above) “must provide a mechanism to bring the PV system(s) back online after a rapid
26   shutdown event.”
27

28


     SECOND AMENDED COMPLAINT                            13                               CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 14 of 41



 1   (Exhibit 2 at 13.)

 2           48.     The SunSpec Interoperability Specification states that “Two modes of operation are

 3   defined for a Rapid Shutdown System: Active Mode and Shutdown Mode.” (Exhibit 2 at 13.)

 4           49.     The SunSpec Interoperability Specification states that “Active Mode is characterized by

 5   the typical state of a PV system, generating power unimpeded by the Rapid Shutdown System.” (Exhibit

 6   2 at 13.) “No specifications or restrictions are placed on PV generators during the Active (power

 7   producing) Mode.” (Exhibit 2 at 13.) “The Transmitter continuously transmits a ‘permission to operate’

 8   bit sequence to indicate PV Power Sources have permission to operate in the Active Mode. If the

 9   Transmitter ceases to transmit the permission to operate sequence then the Subsystem enters the
10   Shutdown Mode.” (Exhibit 2 at 16.)
11           50.     For “Shutdown Mode,” the SunSpec Interoperability Specification states that “NEC 2017
12   specifications require the illuminated PV generators and complete PV system to be de-energized to a
13   maximum when in the Shutdown Mode.” (Exhibit 2 at 13.) It requires that “When in shutdown mode, the
14   receiver shall provide a standby signal to indicate the presence of irradiance”, i.e. an “illuminated PV
15   generator.” (Exhibit 2 at 14 (emphasis added).) Thus, the SunSpec Interoperability Specification includes
16   requirements for the “output power of the PV system” and “each PV generator:”
17

18

19

20

21

22   (Exhibit 2 at 14.)
23           51.     All solar systems that comply with the SunSpec RSD Specifications are systems in which
24   a receiver with a local controller is configured to monitor a communication (the SunSpec signal referred
25   to as “permission to operate” or “KeepAlive”) from a central controller that is remote from the solar
26   module (the transmitter in Figure 1 above) and determine whether the communication has been
27   interrupted for a time period longer than a predetermined number of allowed skips:
28


     SECOND AMENDED COMPLAINT                          14                                 CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 15 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12   (Exhibit 2 at 15.)

13

14

15

16

17

18

19

20

21

22

23

24   (Exhibit 2 at 21.)
25

26

27

28


     SECOND AMENDED COMPLAINT               15                      CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 16 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14   (Exhibit 2 at 22-23.)
15

16

17

18

19

20   (Exhibit 3 at 12; see also Exhibit 3 at 12-13 (“Test-1: ON-state, the RSD must stay ON in the presence of
21   interferer”); Exhibit 2 at 19 (“Requirement: Receiver(s) must indicate the absence of permission to operate
22   signals without any false alarms over at least one hundred (100) hours observation period in the presence
23   of a standardized noise and interference test signal as specified in the SunSpec Rapid Shutdown
24   Compatibility Test Plan”); Exhibit 2 at 13 (“NEC 2017 specifications require the illuminated PV
25   generators and complete PV system to be de-energized to a maximum when in the Shutdown Mode.
26   Instead of completely zeroing output power capability, the receiver must provide a non-zero output voltage
27   and current within the range offered as allowable by NEC 2017.”).
28           52.     As shown above, the cycle period for the permission-to-operate signal is 1.07 seconds, and


     SECOND AMENDED COMPLAINT                           16                             CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 17 of 41



 1   the time for the receiver to de-energize its PV power sources is 13 seconds. This shows that the SunSpec

 2   RSD Specifications use a time period longer than a predetermined number of allowed skips of the

 3   permission-to-operate signal. This is also shown by the requirements that the receiver be immune to any

 4   single tone blocking signal and that it operate without any false alarms.

 5           53.     All solar systems that comply with the SunSpec RSD Specifications include a watchdog

 6   unit with a local controller (the receiver in Figure 1 above) that includes at least one switch configured to

 7   disconnect a solar module from the power bus in response to a determination by the local controller that

 8   the communication (permission-to-operate signal) from the central controller (transmitter in Figure 1

 9   above) has been interrupted for a time period longer than the predetermined number of allowed skips:
10

11

12

13   (Exhibit 2 at 9; see also Exhibit 2 at 15, 21-23 (reproduced above).)
14

15

16

17

18

19

20

21

22

23

24

25

26   (Exhibit 2 at 12.)
27           54.     All solar systems that comply with the SunSpec RSD Specifications include a watchdog
28   unit (“receiver” in Figure 1 above) that is configured to connect a solar module (“PV module” in Figure 1


     SECOND AMENDED COMPLAINT                            17                               CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 18 of 41



 1   above) to the power bus when the communication (permission to operate signal) is not interrupted. This is

 2   shown in the excerpts from Exhibit 2 and Exhibit 3 cited above, including specifically the excerpts

 3   describing the “permission to operate” signal and the “Active Mode” of the “Rapid Shutdown System.”

 4   (See also Exhibit 3 at 12-13 (“Test-1: ON-state, the RSD must stay ON in the presence of interferer”);

 5   Exhibit 2 at 13 (stating that “Rapid Shutdown Systems” (shown in Figure 1 above) “must provide a

 6   mechanism to bring the PV system(s) back online after a rapid shutdown event.”))

 7          C.      SunSpec Knows That All Solar Systems That Use Its Rapid Shutdown Standard
 8                  Infringe Tigo’s ’321 Patent

 9          55.     Tigo formally notified SunSpec in October 2017 that Tigo owned the ’321 patent and that

10   at least claims 1 and 12 of the ’321 patent are necessary to the SunSpec RSD Specifications.

11          56.     On or about November 1, 2017, SunSpec publicly acknowledged Tigo’s notice that claims

12   1 and 12 of the ’321 patent are “necessary” to the SunSpec RSD Specifications in a “Member’s Briefing.”

13   SunSpec publicly repeated that acknowledgment by posting the slides from that meeting on its website at

14   http://sunspec.org/wp-content/uploads/2019/08/RapidShutdown IPbriefing20171101.pdf. A copy of the

15   “Member’s Briefing” slides is attached as Exhibit 4.

16          57.     SunSpec knew that Tigo’s notice that claims 1 and 12 of the ’321 patent are “necessary” to

17   the SunSpec RSD Specifications meant that Tigo was giving notice that any solar system that uses the

18   SunSpec RSD Specifications infringes claims 1 and 12 of the ’321 patent.

19          58.     On February 14, 2020, Tigo’s attorneys sent SunSpec a letter, explaining that Tigo was

20   willing to license its patents related to rapid-shutdown technology (including the ’321 patent) to

21   SunSpec’s members on reasonable and nondiscriminatory terms. A copy of the letter is attached as

22   Exhibit 5.

23          59.     Instead of encouraging or facilitating conversations between its members and Tigo,

24   SunSpec published a “prior art synopsis,” including at least at the URL https://sunspec.org/wp-

25   content/uploads/2021/02/SunSpec-Rapid-Shutdown-Prior-Art-Synopsis-2021.pdf. SunSpec’s “prior art

26   synopsis” document states that its “purpose” is to establish that the technologies involved in the SunSpec

27   RSD Specifications were “invented or discovered years or even decades ago and are in the public

28   domain.” A copy of SunSpec’s “prior art synopsis” document is attached as Exhibit 6.


     SECOND AMENDED COMPLAINT                           18                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 19 of 41



 1           60.     On information and belief, by publishing and distributing Exhibit 6 SunSpec intended to

 2   induce members of the public, including SunSpec members, to infringe Tigo’s ’321 patent by suggesting

 3   that prior art would render Tigo’s claims invalid or otherwise unenforceable.

 4           61.     In 2020, when Tigo learned that a SunSpec member was importing and selling a product

 5   certified under SunSpec’s rapid-shutdown standard, Tigo filed a complaint in this district to enforce its

 6   ’321 patent: Tigo Energy Inc. v. Altenergy Power Systems Inc. et al., No. 5:20-cv-03622 (N.D. Cal.).

 7   SunSpec knew of this lawsuit and its basis.

 8           62.     After signing a license agreement with APsystems and dismissing the lawsuit identified

 9   above, Tigo formally notified SunSpec in a letter dated May 20, 2021 that it was inducing infringement of
10   the ’321 patent by encouraging its members to import, make, use, sell, or offer to sell products that
11   comply with the SunSpec RSD Specifications in the United States without a license to the ’321 patent. A
12   copy of the letter is attached as Exhibit 7.
13           63.     Tigo’s 2021 letter (Exhibit 7) informed SunSpec that Tigo was willing to license the ’321
14   patent to SunSpec members, and that Tigo would be willing to resolve the matter of SunSpec’s
15   infringement amicably if SunSpec would notify its members that they need a license from Tigo to import,
16   make, use, sell, or offer to sell rapid shutdown devices that adhere the SunSpec RSD Specifications.
17           64.     On or about June 21, 2021, Tigo again notified SunSpec that it was inducing infringement
18   of Tigo’s ’321 patent by encouraging use of the SunSpec RSD Specifications without a license. A copy of
19   the letter is attached as Exhibit 8.

20           65.     SunSpec again declined to either acknowledge that a license from Tigo was needed to

21   comply with SunSpec RSD Specifications or encourage its members to obtain a license from Tigo.

22   Instead, in July 2021 SunSpec filed an inter partes review (“IPR”) proceeding with the Patent Trial and

23   Appeal Board (the “Board”) of the United States Patent and Trademark Office (IPR2021-01286) in an

24   effort to invalidate claims of the ’321 patent that are necessary to the SunSpec RSD Specifications.

25           66.     On information and belief, SunSpec’s effort to invalidate the ’321 patent was funded at

26   least in part by SunSpec members, including SMA Solar Technology AG.

27           67.     Sunspec’s IPR against the ’321 patent listed several of its members, including SMA, as

28   “Real Parties-in-Interest” to the proceeding.


     SECOND AMENDED COMPLAINT                            19                              CASE NO. 3:23-cv-00762-WHO
               Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 20 of 41



 1             68.        After the IPR was instituted, but long before it was decided, SunSpec issued a press

 2   release dated February 15, 2022 and posted the press release on its website at https://sunspec.org/inter-

 3   partes-review/. A copy of the press release is attached as Exhibit 9. The press release contends that Tigo’s

 4   ’321 patent is invalid and lauds the Patent Office for instituting SunSpec’s IPR petition against the ’321

 5   patent. The press release states that “SunSpec strongly disagrees with Tigo that any products practicing

 6   the Rapid Shutdown Specification infringe any valid Tigo patents” and that it filed the IPR in order to

 7   support its position.

 8             69.        On January 26, 2023, the Patent Office issued a Final Written Decision in SunSpec’s IPR.

 9   The Final Written Decision is attached as Exhibit 10. The Final Written Decision rejected SunSpec’s
10   invalidity positions, holding that none of the claims that SunSpec challenged in Tigo ’321 patent were
11   unpatentable.
12             70.        Notwithstanding this decision, on or about January 30, 2023, SunSpec issued a press
13   release     titled     “Patent    Office   Invalidates    Tigo   Energy,    Inc.’s   Patent   Claims”      (see
14   https://sunspec.org/patent-office-invalidates-tigo-energy-inc-s-patent-claims/). A copy of this press release
15   is attached as Exhibit 11.
16             71.        Near the end of the January 30, 2023 press release, SunSpec acknowledged that the Patent
17   Office decided not to invalidate “certain other challenged claims of the … ’321 patent”:
18

19

20   (Exhibit 11.)

21             72.        However, SunSpec failed to acknowledge that the Patent Office decided not to invalidate

22   any claims in SunSpec’s challenge against the ’321 patent.

23             73.        On information and belief, SunSpec sent out emails providing the content of the January

24   30, 2023 press release to all of its members.

25             74.        On information and belief, SunSpec also made announcements on social media pushing

26   the content of the January 30, 2023 press release to the public.

27             75.        The January 30, 2023 press release and the communications that SunSpec sent to its

28   members do not suggest that a license from Tigo for the ’321 patent is needed to adhere to the SunSpec


     SECOND AMENDED COMPLAINT                                 20                           CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 21 of 41



 1   RSD Specifications. Instead, the January 30 press release and the communications that SunSpec sent to its

 2   members misleadingly implied that SunSpec succeeded in invalidating Tigo’s patent claims related to the

 3   SunSpec RSD Specifications, thereby incorrectly suggesting that a license to Tigo’s ’321 patent is not

 4   needed to use the SunSpec RSD Specifications.

 5           76.    SunSpec’s primary website page for its rapid-shutdown standard (https://sunspec.org/

 6   sunspec-rapid-shutdown-initiative/) continues to promote SunSpec’s IPR challenge against Tigo’s ’321

 7   patent and the fact that the Patent Office instituted inter partes review based on SunSpec’s petition, by

 8   providing a link to its February 15, 2022 press release (https://sunspec.org/inter-partes-review/, Exhibit 9)

 9   in the first paragraph of that website page, through the bolded text “stalwart defender of the industry’s
10   right to compete:”
11

12

13

14

15

16

17

18

19

20

21

22   (https://sunspec.org/sunspec-rapid-shutdown-initiative/). As described above, the February 15, 2022 press

23   release states that “SunSpec strongly disagrees with Tigo that any products practicing the Rapid Shutdown

24   Specification infringe any valid Tigo patents” and that it filed the IPR in order to support its position.

25   (Exhibit 9.)

26           77.    SunSpec’s primary website page for its rapid-shutdown standard (https://sunspec.org/

27   sunspec-rapid-shutdown-initiative/) does not acknowledge that the Patent Office decided not to invalidate

28   any claims in SunSpec’s challenge against the ’321 patent. Instead, SunSpec’s website misleadingly



     SECOND AMENDED COMPLAINT                            21                               CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 22 of 41



 1   implies that a license to Tigo’s ’321 patent is not needed because SunSpec, as a “stalwart defender of the

 2   industry’s right to compete,” challenged the validity of Tigo’s patent.

 3           78.       Thus, even after SunSpec knew that the Patent Office had rejected its invalidity positions

 4   by holding that none of the claims that SunSpec challenged in Tigo’s ’321 patent were unpatentable,

 5   SunSpec continued to use its website to promote the position that products using the SunSpec RSD

 6   Specifications do not infringe “any valid Tigo patents.” This incorrectly suggests that a license to Tigo’s

 7   ’321 patent is not needed to use the SunSpec RSD Specifications.

 8           D.        SunSpec Is Intentionally Inducing Infringement Of Tigo’s ’321 Patent

 9           79.       As described above, SunSpec has had knowledge of the ’321 patent since at least October
10   2017 when it was informed by Tigo that the ’321 patent was necessary to the SunSpec RSD
11   Specifications.
12           80.       As described above, SunSpec has also had knowledge since at least October 2017 that any
13   solar system that uses the SunSpec RSD Specifications infringes Tigo’s ’321 patent.
14           81.       Despite knowing that a license to Tigo’s ’321 patent is required to use the SunSpec RSD
15   Specifications, and despite knowing that the Patent Office rejected its IPR challenge to the validity of
16   Tigo’s ’321 patent, SunSpec has actively, knowingly, and intentionally induced the public to use the
17   SunSpec RSD Specifications and has incorrectly suggested that a license to Tigo’s ’321 patent is not
18   needed. SunSpec specifically intends and encourages members of the public—including solar system
19   installers, solar system customers, and SunSpec members—to make, use, sell, and offer for sale solar

20   systems that comply with the SunSpec RSD Specifications, despite knowing that any solar system that

21   complies with the SunSpec RSD Specifications infringes Tigo’s ’321 patent.

22                     1.     Example 1: The Solectric System Offer

23           82.       In July 2023 Solectric—a California-licensed solar system installer based in

24   Sacramento—offered to install a 4.00kW solar system that complies with the SunSpec RSD Specification

25   for $17,280 (the “Solectric System Offer”). The Solectric System Offer is shown in Exhibit 19.

26           83.       The Solectric System Offer includes ten 400W solar panels described in Exhibit 19 as “Q

27   PEAK DUO BLK ML-G10 400.” The data sheet for these solar panels is attached as Exhibit 20.

28           84.       The Solectric System Offer includes a SMA inverter described in Exhibit 19 as “SMA So


     SECOND AMENDED COMPLAINT                             22                             CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 23 of 41



 1   ar Techno ogy AG Sunny Boy 5 0-US 240V” (sic). The data sheet for this SMA inverter—Sunny Boy

 2   5.0-US 240V—is attached as Exhibit 13. The Sunny Boy 5.0-US 240V inverter is certified as compliant

 3   with the SunSpec RSD Specifications. Its datasheet (Exhibit 13) includes the SunSpec rapid shutdown

 4   certification logo. The SMA webpage for the Sunny Boy 5.0-US 240V inverter is https://www.sma-

 5   america.com/products/solarinverters/sunny-boy-30-us-41-77-us-41. A copy is attached as Exhibit 21. The

 6   webpage reiterates that the inverter is certified as compliant with the SunSpec RSD Specifications and

 7   states that “SMA’s SunSpec certified rapid shutdown device offers the fastest, most reliable, and safest

 8   method for complying with NEC 2017 690.12.” (Exhibit 21.)

 9           85.     The Solectric System Offer includes rapid shutdown devices described in Exhibit 19 as
10   “SMA SunSpec Rap d Shutdown Dev ce” (sic). The only SMA rapid shutdown device currently available
11   is the JMS-F, as shown for example in Exhibit 23, a copy of https://www.sma-america.com/service-
12   support/downloads with the “Category” option “SunSpec Certified Rapid Shutdown Technology”
13   selected. The datasheet for SMA’s JMS-F device that is available at https://files.sma.de/downloads/
14   SMASunSpecRSD-DS-en-21.pdf is attached as Exhibit 24; an earlier version of the datasheet for SMA’s
15   JMS-F device is attached as Exhibit 15. The manual for SMA’s JMS-F device that is available at
16   https://files.sma.de/downloads/JMS-F-Installation-Manual-en-20230606.pdf is attached as Exhibit 25; an
17   earlier version of that manual is attached as Exhibit 12.
18           86.     The Solectric System Offer directly infringes claims 1, 12, and 13 of Tigo’s ’321 patent
19   for the reasons stated above because it complies with the SunSpec RSD Specifications. For the system to

20   be installed legally in the United States, it must comply with the National Electric Code, and to do so the

21   offered system must comply with the SunSpec RSD Specifications. Additionally, the Solectric System

22   Offer directly infringes claims 1, 12, and 13 of Tigo’s ’321 patent for the reasons stated below in Section

23   F (“SunSpec Is Intentionally Inducing Contributory Infringement Of Tigo’s ’321 Patent By SunSpec

24   Members Such As SMA”).

25                   2.      Example 2: The United Solar Electric System Offer

26           87.     In July 2023 United Solar Electric—a California-licensed solar system installer based in

27   Brentwood—offered to install a 6.4kW solar system that complies with the SunSpec RSD Specification

28   for $23,400 (the “United Solar Electric System Offer”). The United Solar Electric System Offer is shown


     SECOND AMENDED COMPLAINT                             23                            CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 24 of 41



 1   in Exhibit 26.

 2           88.      The United Solar Electric System Offer includes sixteen 400W solar panels described in

 3   Exhibit 26 as “Solaria Corporation – Power X-400R (400 Watts).” The data sheet for these solar panels is

 4   attached as Exhibit 27.

 5           89.      The United Solar Electric System Offer includes a SMA inverter described in Exhibit 19

 6   as “SMA Solar Technology - SB 6000-US-11(240V).” The data sheet for this SMA inverter—Sunny Boy

 7   6.0-US 240V—is attached as Exhibit 13. The Sunny Boy 6.0-US 240V inverter is certified as compliant

 8   with the SunSpec RSD Specifications. Its datasheet (Exhibit 13) includes the SunSpec rapid shutdown

 9   certification logo. The SMA webpage for the Sunny Boy 6.0-US 240V inverter is https://www.sma-
10   america.com/products/solarinverters/sunny-boy-30-us-41-77-us-41. A copy is attached as Exhibit 21. The
11   webpage reiterates that the inverter is certified as compliant with the SunSpec RSD Specifications and
12   states that “SMA’s SunSpec certified rapid shutdown device offers the fastest, most reliable, and safest
13   method for complying with NEC 2017 690.12.” (Exhibit 21.)
14           90.      The United Solar Electric System Offer includes rapid shutdown devices described in
15   Exhibit 19 as “SMA RSD (Rapid Shutdown Device).” The only SMA rapid shutdown device currently
16   available is the JMS-F, as shown for example in Exhibit 23, a copy of https://www.sma-
17   america.com/service-support/downloads with the “Category” option “SunSpec Certified Rapid Shutdown
18   Technology”      selected.   The   datasheet    for   SMA’s     JMS-F      device   that   is   available    at
19   https://files.sma.de/downloads/ SMASunSpecRSD-DS-en-21.pdf is attached as Exhibit 24; an earlier

20   version of the datasheet for SMA’s JMS-F device is attached as Exhibit 15. The manual for SMA’s JMS-

21   F device that is available at https://files.sma.de/downloads/JMS-F-Installation-Manual-en-20230606.pdf

22   is attached as Exhibit 25; an earlier version of that manual is attached as Exhibit 12.

23           91.      The United Solar Electric System Offer directly infringes claims 1, 12, and 13 of Tigo’s

24   ’321 patent for the reasons stated above because it complies with the SunSpec RSD Specifications. For

25   the system to be installed legally in the United States, it must comply with the National Electric Code, and

26   to do so the offered system must comply with the SunSpec RSD Specifications. Additionally, the

27   Solectric System Offer directly infringes claims 1, 12, and 13 of Tigo’s ’321 patent for the reasons stated

28   below in Section F (“SunSpec Is Intentionally Inducing Contributory Infringement Of Tigo’s ’321 Patent


     SECOND AMENDED COMPLAINT                              24                              CASE NO. 3:23-cv-00762-WHO
              Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 25 of 41



 1   By SunSpec Members Such As SMA”).

 2                  3.      Example 3: SMA Testing In The United States

 3          92.     On information and belief, SMA has tested solar systems in the United States that comply

 4   with the SunSpec RSD Specifications (the “SMA Test System(s)”).

 5          93.     On information and belief, SMA maintains the website www.sma-sunny.com. A copy of a

 6   March 3, 2021 blog post from that website (https://www.sma-sunny.com/us/jms-f-sunspec-certified-rapid-

 7   shutdown-device-installation/) is attached as Exhibit 28. The blog post contains a link to a video titled

 8   “JMS-F     SunSpec    Certified   Rapid   Shutdown     Device    Installation”   that   is   available    at

 9   https://www.youtube.com/ watch?v=ODxNwioxRm0.
10

11

12

13

14

15

16

17

18

19          94.     On information and belief, the narrator in the video is Mr. Michael Mahon, a Technical
20   Trainer at SMA America who is based at SMA’s facility in Rocklin, California. Mr. Mahon states in the
21   video that SMA has tested the SMA JMS-F rapid shutdown device with the Sunny Boy US-41 inverter
22   line as well as the Core 1 US-41 inverter line, both of which are SunSpec certified. The Sunny Boy US-41
23   inverter line is described in Exhibits 13 and 21 and includes the SMA inverters described above in
24   Example 1 and Example 2. The Core 1 US-41 inverter line is described in its datasheet, Exhibit 29.
25          95.     Mr. Mahon states in the video that “every module in the array must be equipped with the
26   JMS-F rapid shutdown device” to meet the requirements of the 2017 National Electric Code.
27          96.     The video demonstrates how to mount the SMA JMS-F rapid shutdown device on a solar
28   panel. The narrator states that the SMA JMS-F rapid shutdown device “slides onto the module frame and


     SECOND AMENDED COMPLAINT                          25                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 26 of 41



 1   the included screw and washer are used to secure the device.”

 2

 3

 4

 5

 6

 7

 8

 9
10

11
             97.     The video states that SMA’s JMS-F rapid shutdown device will remain in shutdown mode
12
     until it receives the “keep alive signal” from the SunSpec transmitter built into the inverter.
13
             98.     The video shows how a solar system is assembled in compliance with the SunSpec RSD
14
     Specifications, including the requirement of 6-30 solar panels per string connected to a SMA inverter
15
     containing a SunSpec-certified rapid-shutdown transmitter:
16

17

18

19

20

21

22

23

24

25
             99.     The SMA Test System(s) directly infringe claims 1, 12, and 13 of Tigo’s ’321 patent for
26
     the reasons stated above because they comply with the SunSpec RSD Specifications. Additionally, the
27
     Solectric System Offer directly infringes claims 1, 12, and 13 of Tigo’s ’321 patent for the reasons stated
28
     below in Section F (“SunSpec Is Intentionally Inducing Contributory Infringement Of Tigo’s ’321 Patent


     SECOND AMENDED COMPLAINT                             26                                CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 27 of 41



 1   By SunSpec Members Such As SMA”).

 2           100.    Each of the three examples above show that SunSpec has successfully induced members

 3   of the public—including solar system installers, solar system customers, and SMA, a SunSpec member—

 4   to make, use, sell and/or offer for sale solar systems that comply with the SunSpec RSD Specifications,

 5   despite knowing that any solar system that complies with the SunSpec RSD Specifications infringes at

 6   least claims 1, 12, and 13 of Tigo’s ’321 patent.

 7           101.    The full extent of direct infringement induced by SunSpec is not presently known to Tigo.

 8   On information and belief, SunSpec has induced other individuals or entities beyond the three examples

 9   above to make, use, sell, offer for sale, or import solar systems that comply with the SunSpec RSD
10   Specifications products and thus infringe claims 1, 12, and 13 of Tigo’s ’321 patent.
11           E.      SunSpec’s Testing And Certification Business Infringes Tigo’s ’321 Patent
12           102.    On information and belief, SunSpec provides testing and certification for the SunSpec
13   RSD Specifications that allows SunSpec members to obtain SunSpec certifications verifying that their
14   products adhere to the SunSpec RSD Specifications. To do so, SunSpec establishes relationships with
15   “SunSpec Authorized Test Laboratories” that operate in the United States, including Intertek US, Kyrio,
16   CSA Group, TUV Rheinland US, TÜV SÜD, and Underwriters Laboratories (UL). When a SunSpec
17   member seeks to certify a product, the member pays a fee to SunSpec, and one or more of these SunSpec
18   Authorized Test Laboratories performs the tests required by the Test Specification under SunSpec’s
19   direction and control. A report on the testing is then provided to SunSpec, which SunSpec uses to

20   determine whether to certify the member’s device as compliant with the SunSpec RSD Specifications.

21           103.    SunSpec is directly infringing at least claims 1, 12, and 13 of the ’321 patent, literally and

22   under the doctrine of equivalents, when SunSpec Authorized Test Laboratories perform the tests required

23   by the Test Specification on SunSpec members’ products so that SunSpec can determine whether or not to

24   certify those products as compliant with the SunSpec RSD Specifications. SunSpec directs and controls

25   the SunSpec Authorized Test Laboratories to perform the tests required by the Test Specification on

26   SunSpec members’ products so that SunSpec can determine whether or not to certify those products.

27   Additionally, by operating its certification business SunSpec is putting into service the invention of claims

28   1, 12, and 13 of Tigo’s ’321 patent, controlling the system as a whole through the requirements of the


     SECOND AMENDED COMPLAINT                             27                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 28 of 41



 1   SunSpec RSD Specifications, and obtaining a benefit by charging membership and certification fees to its

 2   members. Thus, SunSpec is using every element of the solar system of claims 1, 12, and 13 of Tigo’s ’321

 3   patent by putting every element collectively into service in order to certify products as compliant with the

 4   SunSpec RSD Specifications and collect fees for doing so.

 5           104.    In the alternative, SunSpec is actively inducing SunSpec Authorized Test Laboratories to

 6   directly infringe at least claims 1 and 12 of the ’321 patent by inducing SunSpec Authorized Test

 7   Laboratories to perform the tests required by the Test Specification, which involve making and using a

 8   system that complies with the SunSpec RSD Specifications, despite knowing that doing so infringes at

 9   least claims 1 and 12 of Tigo’s ’321 patent literally and/or under the doctrine of equivalents.
10           105.    The testing performed by a SunSpec Authorized Test Laboratory pursuant to the Test
11   Specification includes using a system in which a watchdog unit is coupled between a solar module or the
12   equivalent of a solar module and a power bus, where the power bus is configured to connect a plurality of
13   solar modules to an inverter and a transmitter.
14           106.    Figure 4.1 of the Test Specification has a box labeled “power supply or PV module”
15   connected to “Receiver B”:
16

17

18

19

20

21

22

23

24

25

26

27

28   (Exhibit 3 at 23.)


     SECOND AMENDED COMPLAINT                             28                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 29 of 41



 1           107.    The Test Specification defines “test setup 1” for a “shutdown output voltage test” as using

 2   a PV module that is “illuminated with enough light:”

 3

 4

 5

 6   (Exhibit 3 at 22.) The Test Specification also explains that when a “receiver is integrated inside a PV

 7   module, means shall be provided to give power to the receiver.” (Exhibit 3 at 22.)

 8           108.    The Test Specification defines a “start process test” that is part of an “interoperability test

 9   of two different devices,” which requires that when “the transmitter sends a keep alive signal on the DC

10   power line, the receiver demodulates the signal and connects the PV module on the string.” (Exhibit 3 at

11   21(emphasis added).)

12           109.    Figure 3.7 of the Test Specification also shows a solar module:

13

14

15

16

17

18

19

20

21

22   (Exhibit 3 at 26.)
23           110.    In a table titled “Interoperability test description” the Test Specification identifies the “Pre-
24   test conditions” as including that “the receiver is connected to a PV module with sun or is connected to a
25   DC supply simulating a PV module.” (Exhibit 3 at 24.) A “a DC supply simulating a PV module” is
26   equivalent to a solar module in this context, i.e. testing a rapid shutdown device to ensure that it will
27   perform as designed by shutting down the solar module when the RSD stops receives a permission-to-
28   operate signal from the transmitter. A “DC supply simulating a PV module” is insubstantially different


     SECOND AMENDED COMPLAINT                              29                                CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 30 of 41



 1   from a solar module because it is designed and intended to simulate a solar module and because the

 2   standard allows it to be used interchangeably with a solar module in this context. Additionally, the

 3   SunSpec RSD Specifications show that it is performing the same function (providing power to the RSD

 4   device) in the same way (by creating a voltage across the input terminals of the RSD device), to achieve

 5   the same result (testing a rapid-shutdown device to ensure that it will perform as designed by shutting

 6   down the RSD’s power source when the RSD stops receiving a permission-to-operate signal from the

 7   transmitter).

 8           111.    The Test Specification includes the following figures, which show a watchdog unit (in

 9   blue, labeled RSD) that is coupled between the equivalent of a solar module and a power bus, where the
10   power bus is configured to connect a plurality of solar modules to an inverter and a transmitter (the
11   components on the right labeled in one figure as “SunSpec signal pattern generator”).
12

13

14

15

16

17

18

19

20

21

22

23   (Exhibit 3 at 7-8.)
24           112.    The components in these Figures 3.1 and 3.2 that are drawn in black on the left of the blue
25   “RSD” and that are connected to the RSD inputs are described in the Test Specification as “equipment to
26   simulate the voltage of a PV module.” These components are equivalent to a solar module in this context,
27   i.e. testing a rapid-shutdown device to ensure that it will perform as designed by shutting down the solar
28   module when the RSD stops receives a permission-to-operate signal from the transmitter. They are


     SECOND AMENDED COMPLAINT                           30                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 31 of 41



 1   insubstantially different from a solar module because they are designed and intended to simulate a solar

 2   module. Additionally, the SunSpec RSD Specifications show that they are performing the same function

 3   as a solar module (providing electric power to the RSD device) in the same way (by creating a voltage

 4   across the input terminals of the RSD device), to achieve the same result (testing a rapid-shutdown device

 5   to ensure that it will perform as designed by shutting down the RSD’s power source when the RSD stops

 6   receiving a permission-to-operate signal from the transmitter).

 7          113.    The testing performed by a SunSpec Authorized Test Laboratory pursuant to the Test

 8   Specification includes using a local controller in the watchdog unit that is configured to monitor a

 9   communication (the SunSpec signal) from a central controller (the SunSpec signal pattern generator) that
10   is remote from the watchdog unit and the solar module or its equivalent and determine whether the
11   communication has been interrupted for a time period longer than a predetermined number of allowed
12   skips as discussed above.
13          114.    The testing performed by a SunSpec Authorized Test Laboratory pursuant to the Test
14   Specification includes using at least one switch configured to disconnect the solar module or its equivalent
15   from the power bus (cause a rapid shutdown) in response to a determination by the location controller that
16   the communication (the SunSpec signal) from the central controller (transmitter / SunSpec signal pattern
17   generator) has been interrupted for a time period longer than the predetermined number of allowed skips
18   as discussed above.
19          115.    The testing performed by a SunSpec Authorized Test Laboratory pursuant to the Test

20   Specification includes configuring the solar module or its equivalent to connect to the power bus when the

21   communication is not interrupted as discussed above and as shown for example by Test Specification’s

22   requirement that when “the transmitter sends a keep alive signal on the DC power line, the receiver

23   demodulates the signal and connects the PV module on the string.” (Exhibit 3 at 21.)

24          F.      SunSpec Is Intentionally Inducing Contributory Infringement Of Tigo’s ’321
25                  Patent By SunSpec Members Such As SMA

26          116.    On information and belief, SMA’s JMS-F rapid shutdown device’s is a copy of Tigo’s

27   TS4-A-F product.

28          117.    Like Tigo’s TS4-A-F product, the JMS-F is a module-level rapid shutdown unit that is


     SECOND AMENDED COMPLAINT                            31                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 32 of 41



 1   attached to individual photovoltaic panels:

 2

 3

 4

 5

 6

 7

 8

 9   See, e.g., https://www.sma-america.com/products/sunspec-certified-rapid-shutdown-technology/jms-f-
10   sunspec-rapid-shutdown-device.html.
11           118.    SMA’s SunSpec-certified inverters, including specifically Sunny Boy US-41 inverter line
12   (Exhibit 13) and the Tripower Core 1 US-41 inverter line (Exhibit 29) employ “SunSpec rapid shutdown
13   technology” and are specifically designed, intended, and promoted to be used in combination with SMA’s
14   JMS-F. This is shown for example by (i) SMA’s JMS-F datasheets, Exhibit 15 and 24; (ii) SMA’s June 9,
15   2021 blog post, titled “Top 4 Benefits of SunSpec Rapid Shutdown,” attached as Exhibit 22; (iii) SMA’s
16   “Power+ Solution” brochure, which is attached as Exhibit 30; and (iv) the SMA webpage for the Sunny
17   Boy US-41 and Tripower Core 1 US-41 inverter lines:
18

19

20

21

22

23

24

25

26

27

28   (Exhibit 21 at 4.)


     SECOND AMENDED COMPLAINT                          32                            CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 33 of 41



 1          119.    Like the Tigo RSS Transmitter, the SunSpec-certified SMA inverters described above

 2   provide a watchdog signal (the SunSpec keep-alive signal) to a rapid shutdown device (the JMS-F), for

 3   rapid shutdown along the powerline to enable a photovoltaic system that complies with NEC § 690.12.

 4   For example:

 5          •   Exhibits 12 and 25 (JMS-F Installation Manuals) at 5 (“The signal is transmitted by
                the inverter with built-in transmitter function through the DC bus. . . . When an
 6              emergency situation occurs, the AC power can be turned off by switching the AC
 7              breaker in the cabinet, so that the inverter with built in transmitter function stops
                sending signals, and the JMS-F will shutdown power output . . .”), 10-12;
 8
            •   Exhibit 13 (Sunny Boy US-41 datasheet) at 3 (“The SMA Energy System Home
 9              combines legendary SMA inverter performance and SunSpec certified shutdown
                devices in one cost-effective, comprehensive package . . . . This rapid shutdown
10              solution fulfills UL 1741, NEC 2014, and NEC 2017 requirements and is certified
11              to the power line-based SunSpec Rapid Shutdown communication signal over DC
                wires, making it the most simple and cost-effective rapid shutdown solution on the
12              market.”);

13          •   Exhibit 14 (Sunny Boy US-41 Installation Manual) at 20 (“A complete PV Rapid
                Shutdown System consists of the inverter, PV array disconnect switches, and a
14              Rapid Shutdown initiation device. The Rapid Shutdown initiation device serves to
                initiate a rapid shutdown. The PV Rapid Shutdown System must limit the DC
15
                conductors to < 30 V within 30 seconds.”).
16          120.    On information and belief, SMA has made, used, sold, offered to sell, imported, installed
17   and has had installed the SMA JMS-F in combination with the Sunny Boy US-41 and Tripower Core 1
18   US-41 inverter lines.
19          121.    When a solar system using (i) a SunSpec-certified inverter from SMA’s Sunny Boy US-41
20   or Tripower Core 1 US-41 inverter lines and (ii) SunSpec-certified SMA JMS-F devices is installed, used,
21   sold, or offered in the United States (an “SMA-Based Solar System”) the SunSpec-certified SMA
22   components are a material part of the solar system of claims 1, 12, and 13 of Tigo’s ’321 Patent and are
23   not staple articles or commodity of commerce suitable for substantial noninfringing use. In the United
24   States these SunSpec-certified components must be installed in accordance with the infringing SunSpec
25   RSD Specifications in order to comply with the National Electric Code, and they have no substantial use
26   other than in an infringing solar system that uses the SunSpec RSD Specifications. They are a material
27   part of the solar system of claims 1, 12, and 13 of Tigo’s ’321 Patent, for example because they
28   implement the invention described in Tigo’s ’321 Patent.


     SECOND AMENDED COMPLAINT                          33                             CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 34 of 41



 1           122.    In a SMA-Based Solar System, the SMA JMS-F device is a watchdog unit coupled

 2   between a solar module (the PV module shown below) and a power bus (the DC lines shown in green

 3   below), where the power bus configured to connect a plurality of solar modules to an inverter (the

 4   SunSpec Certified PV Inverter shown below):

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17   (Exhibit 15 at 2; Exhibit 24 at 2.)
18           123.    The SMA JMS-F comprises a local controller configured to monitor a communication (the
19   SunSpec keep-alive signal) from a central controller remote from the solar module (the SunSpec
20   transmitter in a SunSpec-certified inverter from SMA’s Sunny Boy US-41 or Tripower Core 1 US-41
21   inverter lines) and determine whether the communication has been interrupted for a time period longer
22   than a predetermined number of allowed skips:
23

24

25

26

27

28


     SECOND AMENDED COMPLAINT                         34                            CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 35 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20   (Exhibit 12, JMS-F Installation Manual at 11.)
21          124.    The SMA JMS-F comprises at least one switch configured to disconnect the solar module
22   from the power bus (e.g., cause a rapid shutdown) in response to a determination by the location controller
23   that the communication (e.g., a signal such as a SunSpec signal) from the central controller (e.g., the SMA
24   inverter) has been interrupted for a time period longer than the predetermined number of allowed skips:
25

26

27

28


     SECOND AMENDED COMPLAINT                           35                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 36 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20   (Exhibit 12, JMS-F Installation Manual at 11.)
21          125.    In a SMA-Based Solar System, the SMA JMS-F device is configured to connect the solar
22   module to the power bus when the communication is not interrupted:
23

24

25

26

27

28


     SECOND AMENDED COMPLAINT                         36                          CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 37 of 41



 1

 2

 3

 4

 5

 6

 7

 8

 9
10   (Exhibit 12, JMS-F Installation Manual at 5.)

11           126.      As described above, SunSpec has had knowledge of the ’321 patent since at least October

12   2017 when it was informed by Tigo that the ’321 patent was necessary to the SunSpec RSD

13   Specifications.

14           127.      As described above, SunSpec has also had knowledge since at least October 2017 that any

15   solar system that uses the SunSpec RSD Specifications infringes Tigo’s ’321 patent.

16           128.      Despite this knowledge, as described above SunSpec has actively, knowingly, and

17   intentionally induced SunSpec members such as SMA to make, use, sell, and/or offer for sale products

18   that are certified under the SunSpec RSD Specifications as transmitters and receivers. These SunSpec-

19   certified products have no substantial use except in a solar system that uses the SunSpec RSD

20   Specifications and thus infringe claims 1, 12, and 13 of Tigo’s ’321 Patent. These SunSpec-certified

21   products are a material part of the solar system of claims 1, 12, and 13 of Tigo’s ’321 Patent for example

22   because they implement the invention described in Tigo’s ’321 Patent. (E.g. Exhibit 1 at Abstract, 1:43-

23   2:12, 7:56-8:4.) In so doing, SunSpec has incorrectly suggested to SunSpec members such as SMA that a

24   license to Tigo’s ’321 patent is not needed.

25                                                      COUNT I

26                             (INFRINGEMENT OF U.S. PATENT NO. 8,933,321)

27           129.      Tigo repeats and realleges each of the paragraphs above as if fully set forth herein.

28           130.      On January 13, 2015, the United States Patent and Trademark Office duly and legally


     SECOND AMENDED COMPLAINT                              37                               CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 38 of 41



 1   issued the ’321 patent. Tigo is the owner and assignee of all substantial rights in the ’321 patent, including

 2   the right to enforce the ’321 patent.

 3           131.      Each individual claim in the ’321 patent recites an independent invention. No individual

 4   claim is representative of all claims in the ’321 patent.

 5           132.      All solar systems that comply with the SunSpec RSD Specifications infringe least claims

 6   1, 12, and 13 Tigo’s ’321 patent.

 7           133.      Despite knowing that all solar systems that comply with the SunSpec RSD Specifications

 8   infringe least claims 1, 12, and 13 Tigo’s ’321 patent, SunSpec is inducing infringement of those claims

 9   by encouraging members of the public—including solar system installers, solar system customers, and
10   SunSpec members—to make, use, sell, and offer for sale solar systems that comply with the SunSpec
11   RSD Specifications and thus directly infringe, and by incorrectly suggesting that a license to Tigo’s ’321
12   patent is not needed to make, use, sell, and offer for sale solar systems that comply with the SunSpec RSD
13   Specifications.
14           134.      SunSpec is directly infringing at least claims 1, 12, and 13 of the ’321 patent, literally and
15   under the doctrine of equivalents, when SunSpec Authorized Test Laboratories perform the tests required
16   by the Test Specification on SunSpec members’ products so that SunSpec can determine whether or not to
17   certify those products as compliant with the SunSpec RSD Specifications. SunSpec directs and controls
18   the SunSpec Authorized Test Laboratories to perform the tests required by the Test Specification on
19   SunSpec members’ products so that SunSpec can determine whether or not to certify those products.

20   Additionally, by operating its certification business SunSpec is putting into service the invention of claims

21   1, 12, and 13 of Tigo’s ’321 patent, controlling the system as a whole through the requirements of the

22   SunSpec RSD Specifications, and obtaining a benefit by charging membership and certification fees to its

23   members. Thus, SunSpec is using every element of the solar system of claims 1, 12, and 13 of Tigo’s ’321

24   patent by putting every element collectively into service in order to certify products as compliant with the

25   SunSpec RSD Specifications and collect fees for doing so.

26           135.      In the alternative to the previous paragraph, SunSpec is actively inducing SunSpec

27   Authorized Test Laboratories to directly infringe at least claims 1, 12, and 13 of Tigo’s ’321 patent by

28   inducing SunSpec Authorized Test Laboratories to perform the tests required by the Test Specification,


     SECOND AMENDED COMPLAINT                               38                              CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 39 of 41



 1   which involve making and using a system that uses the SunSpec RSD Specifications, despite knowing

 2   that doing so infringes at least claims 1, 12, and 13 of Tigo’s ’321 patent literally and/or under the doctrine

 3   of equivalents.

 4           136.      Additionally, SunSpec has actively, knowingly, and intentionally induced SunSpec

 5   members such as SMA to make, use, sell, and/or offer for sale products that are certified under the

 6   SunSpec RSD Specifications as transmitters and receivers, that are a material part of the solar system of

 7   claims 1, 12, and 13 of Tigo’s ’321 Patent, and that are not staple articles or commodity of commerce

 8   suitable for substantial noninfringing use. These SunSpec-certified products have no substantial use

 9   except in a solar system that uses the SunSpec RSD Specifications and thus infringe claims 1, 12, and 13
10   of Tigo’s ’321 Patent. These SunSpec-certified products are a material part of the solar system of claims
11   1, 12, and 13 of Tigo’s ’321 Patent for example because they implement the invention described in Tigo’s
12   ’321 Patent. (E.g. Exhibit 1 at Abstract, 1:43-2:12, 7:56-8:4.)
13           137.      Tigo has suffered and continues to suffer damages as a result of SunSpec’s infringement
14   of the ’321 patent in an amount to be determined at trial.
15           138.      SunSpec’s infringement of the ’321 patent is causing irreparable harm for which Tigo has
16   no adequate remedy at law unless SunSpec is enjoined by this Court. Under 35 U.S.C. § 283, Tigo is
17   entitled to a permanent injunction against further infringement of the ’321 patent.
18           139.      SunSpec’s infringement of the ’321 patent is willful and deliberate. SunSpec has been on
19   notice that solar systems that use the SunSpec RSD Specifications infringe, and SunSpec has continued to

20   directly infringe, induce infringement, and induce contributory infringement as described above despite

21   SunSpec’s knowledge that all solar systems that use the SunSpec RSD Specifications infringe the ’321

22   patent. SunSpec’s conduct in inducing infringement is also egregious in light of its posturing and

23   representations to its members regarding the validity of Tigo’s patents, including the ’321 patent, as

24   described above. As SunSpec has no good faith belief that it does not infringe the ’321 patent, its

25   continued infringement is willful and deliberate, entitling Tigo to increased damages under 35 U.S.C. §

26   284 and to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

27                                                JURY DEMAND

28           140.      Tigo hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil


     SECOND AMENDED COMPLAINT                             39                               CASE NO. 3:23-cv-00762-WHO
             Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 40 of 41



 1   Procedure.

 2                                            PRAYER FOR RELIEF

 3          141.     Tigo respectfully requests that the Court find in its favor and against SunSpec and that the

 4   Court grant Tigo the following relief:

 5                a. A judgment that SunSpec has infringed Tigo’s ’321 patent as alleged herein;

 6                b. A permanent injunction against SunSpec and their affiliates, subsidiaries, assignees,

 7                   employees, agents or anyone acting in privity or concert with them from further

 8                   infringement of the ’321 patent, including without limitation enjoining the inducement of

 9                   others to make, use, sell, or offer for sale products or systems that infringe any claim of the
10                   ’321 patent without a license from Tigo, until the expiration of the ’321 patent.
11                c. A judgment for an accounting of all damages, past and future, sustained by Tigo as a result
12                   of the acts of infringement by SunSpec;
13                d. A judgment and order requiring SunSpec to pay Tigo damages under 35 U.S.C. § 284,
14                   including up to treble damages as provided by 35 U.S.C. § 284, and any royalties
15                   determined to be appropriate;
16                e. A judgment and order requiring SunSpec to pay Tigo pre-judgment and post-judgment
17                   interest on the damages awarded;
18                f. A judgment and order finding this to be an exceptional case and requiring SunSpec to pay
19                   the costs of this action (including all disbursements) and attorneys’ fees as provided by 35

20                   U.S.C. § 285; and

21                g. Such other and further relief as the Court deems just and equitable.

22   Dated: July 18, 2023                                   Respectfully submitted,

23                                                          /s/ Nicholas Brown

24                                                          Nicholas A. Brown (CA Bar No. 198210)
                                                            Greenberg Traurig, LLP
25
                                                            101 Second St. Ste. 2200
26                                                          San Francisco, CA 94105
                                                            Phone: (415) 655-1300
27                                                          Fax: (415) 707-2010
28                                                          Stephen M. Ullmer (CA Bar No. 277537)
                                                            Greenberg Traurig, LLP

     SECOND AMENDED COMPLAINT                             40                                CASE NO. 3:23-cv-00762-WHO
            Case 3:23-cv-00762-WHO Document 31 Filed 07/18/23 Page 41 of 41



 1                                           1144 15th St. Ste. 3300
                                             Denver, CO 80202
 2                                           Phone: 303-685-6579
                                             Fax: 303-572-6540
 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     SECOND AMENDED COMPLAINT              41                          CASE NO. 3:23-cv-00762-WHO
